        Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 1 of 8




                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Kyle Montagano, being sworn, state:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a “federal law enforcement officer” within the meaning of Federal Rule of

Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal

laws and duly authorized by the Attorney General to request a search warrant. I am also an

“investigative or law enforcement officer” within the meaning of 18 U.S.C. § 2510(7); that is,

an officer of the United States empowered by law to conduct investigations of, and to make

arrests for, offenses enumerated in 18 U.S.C. § 2516.

       2.      I am a Special Agent with the Drug Enforcement Administration (“DEA”)

assigned to the Providence, Rhode Island District Office within the New England Field

Division. I graduated from UMass Boston in 2010 with a Bachelor of Arts degree in Criminal

Justice. I was a police officer with the Bridgewater Police Department from 2013 to 2021. From

2016 to 2021, I was assigned full-time to the DEA as a sworn federal Task Force Officer

(“TFO”). I have been a Special Agent with DEA since May 2021. Prior to my assignment to the

Providence Office, I attended a sixteen-week-long DEA Basic Agent Training Academy in

Quantico, Virginia. While at the academy, I received training in drug enforcement

investigations including, but not limited to, drug identification, surveillance, undercover

operations, communications, interview and interrogation, confidential source handling, evidence

handling, firearms, and case development.
         Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 2 of 8




        3.      As a Special Agent of the DEA, I am authorized to investigate violations of the

laws of the United States, including violations of the federal drug laws in Title 21 of the United

States Code.

        4.      As a Special Agent and TFO, I have written and/or participated in the execution

of numerous search warrants resulting in the seizure of: large quantities of controlled substances;

paraphernalia involved in the manufacture and distribution of controlled substances; United States

currency; records of narcotics and monetary transactions; and drug customer lists and other

documents relating to the manufacturing, transportation, ordering, purchasing and distribution of

controlled substances as well as the collection, expenditure, accounting, transportation, and

laundering of drug proceeds. I have participated in the debriefing of numerous defendants,

informants and witnesses who had personal knowledge regarding large-scale narcotics trafficking

organizations. I have participated in all aspects of drug investigations including conducting

surveillance, executing searches pursuant to court-ordered search warrants, executing arrests, and

participating in court-authorized Title III wiretaps of cellular phones. I have received extensive

specialized training in the field of controlled substance identification, investigation and

enforcement.

        5.      By virtue of my employment as a police officer and assignment as a DEA Special

Agent and TFO, I have performed and continue to perform various duties, including, but not

limited to: working in the capacity of a surveillance agent detecting and recording movement of

persons known to be or suspected of being involved in illegal drug trafficking; working as a case

agent directing the investigation of various illegal drug traffickers and their organizations; and

directing investigations involving complex conspiracies.




                                                2
         Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 3 of 8




        6.      Through experience and training, I have become familiar with the types and

amounts of profits made by drug traffickers and the methods, language, and terms used to disguise

illegal activity. I know that persons engaged in drug trafficking require expedient forms of

communication to maintain an adequate and consistent supply of drugs from sources, and to

effectively market those drugs to customers. I understand illegal drug trafficking often involves

the local, interstate, and international movement of illegal drugs to distributors and co-

conspirators at multiple levels, and the movement of the proceeds of drug trafficking among

multiple participants including suppliers, customers, distributors and money launderers.

        7.      I am familiar with narcotics traffickers’ methods of operation, including methods

used by them to distribute, store, and transport narcotics and to collect, expend, account for,

transport, and launder drug proceeds. I am familiar with the manner in which drug traffickers use

telephones, coded or slang-filled telephone conversations, text messages, communication apps,

and other means to facilitate their illegal activities.

        8.      Based on my training and experience, I believe that illegal drugs and drug proceeds

are often transported in motor vehicles and that drug traffickers often coordinate such

transportation through the use of cellular telephones. Through my training and experience, I have

acquired specialized knowledge in the activities of drug traffickers, including their use of

residences, businesses, and drug “stash houses,” to store and process drugs for distribution and to

direct their drug distribution activities. That training and experience has led me to believe that

drug traffickers store contraband, as well as other evidence of their crimes such as drug proceeds,

cellular telephones, cuff sheets or owe sheets, at their residences, businesses, and stash houses.

        9.      The facts in this affidavit come from my personal observations and information

obtained from other agents, investigators, and witnesses. My interpretations of conversations,



                                                   3
        Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 4 of 8




conduct, and events detailed herein are based on my training and experience and knowledge of

the investigation. This affidavit is intended to show that there is probable cause for the requested

complaint and does not set forth all of my knowledge about this matter. All times herein are

approximate.

                                    Purpose of the Affidavit

       10.     I submit this affidavit in support of a criminal complaint against Michael

VARGAS-CRUZ (“VARGAS”), charging that on July 1, 2022, he attempted to possess with

intent to distribute 5 kilograms or more of cocaine, in violation of 21 U.S.C. § 841(a)(1),

(b)(1)(A)(ii) & 21 U.S.C. § 846.

                                         Probable Cause

       11.     During the week of June 20, 2022, a DEA field office in another state conducted

a controlled purchase of 28.2 kilograms of a substance that field-tested positive for the presence

of cocaine. DEA investigators in the other state sent a confidential source (“CS-1”) to meet with

a target in the other state, and the target supplied CS-1 with the 28.2 kilograms. CS-1 has prior

convictions for narcotics trafficking and served time in prison. CS-1 is now being paid by the

DEA to work as a cooperator. Based on information provided by CS-1 that investigators were

able to corroborate in this and other investigations, investigators believe CS-1 to be reliable.

       12.     Following the controlled purchase, the DEA field office in the other state contacted

members of the DEA’s Providence Field Office (“DEA Providence”). DEA Providence learned

that the 28.2 kilograms of cocaine were to be delivered to an unknown customer in the Boston

area who was to pay a transportation fee in exchange for the drugs. The drugs themselves would

be provided on consignment. In my training and experience, payment of a transportation or




                                                 4
            Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 5 of 8




 brokerage fee for drugs that are otherwise delivered on consignment is a common arrangement

 among drug traffickers.

         13.      On or about June 29, 2022, CS-1 received a telephone number, 857-230-6091, for

 the customer in the Boston area who was to pay the transportation fee and receive the 28.2

 kilograms of cocaine. “857” is a northern Massachusetts area code. The phone is a prepaid phone

 with no subscriber information serviced by T-Mobile. CS-1 received the phone number from the

 same person who had negotiated with CS-1 to deliver the 28.2 kilograms of cocaine to CS-1.

            14.   DEA Providence then directed a confidential source (“CS-2”) to pose as the person

 who would deliver the drugs to the person holding the 6091 phone, later identified as Michael

 VARGAS-CRUZ (“VARGAS”). Like CS-1, CS-2 has prior convictions for narcotics trafficking

 and served time in prison. CS-2 is now being paid by the DEA to work as a cooperator. Based

 on information provided by CS-2 that investigators were able to corroborate in this and other

 investigations, investigators believe CS-2 to be reliable.

            15.   Investigators prepared sham cocaine to look like the real cocaine that had been

 delivered to CS-1 in the other state. The real cocaine had been wrapped in 24 individual bundles

 but weighed approximately 28.2 kilograms.

            16.   On June 30, 2022, DEA Providence investigators directed CS-2 to contact

 VARGAS and negotiate the delivery of the 28.2 kilograms of cocaine. The calls were recorded.

 During these calls, VARGAS agreed to meet CS-2 and to deliver money (VARGAS said he had

 “fifteen thousand”1) in transportation fees for the item CS-2 would deliver. CS-2 told VARGAS

 s/he would call VARGAS when s/he was approximately an hour away from being ready.


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         All quoted communications in this Affidavit are unofficial translations from the original
Spanish-language discussions.


                                                    5
        Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 6 of 8




       17.    On July 1, 2022, at approximately 11:13 a.m., DEA Providence investigators

directed CS-2 to contact VARGAS to meet at the South Bay shopping plaza located at 8 Allstate

Road, Boston, MA to complete the transaction.         CS-2 did so in another recorded call.

Investigators were set up at South Bay for surveillance. Investigators equipped CS-2 and the

inside of CS-2’s vehicle with audio- and video-recording equipment, searched CS-2 for

contraband with negative results, and established surveillance at the South Bay shopping center.

Investigators placed 24 individual bricks of sham cocaine in CS-2’s trunk.

       18.    At approximately 1:12 p.m., VARGAS contacted CS-2 and advised that he

(VARGAS) was at the plaza. At approximately 1:43 p.m., CS-2 contacted VARGAS and advised

him CS-2 was on the way.

       19.    At approximately 2:03 p.m., CS-2 received an incoming recorded phone call from

VARGAS asking where CS-2 was. CS-2 said s/he was approximately two minutes away.

VARGAS told CS-2 that he was parked near the T-Mobile store inside of the plaza. Investigators

moved toward the T-Mobile store and began attempting to identify the vehicle.

       20.    In another recorded call at approximately 2:15 p.m., CS-2 told VARGAS the type

of vehicle CS-2 was driving and said he/she was at the T-Mobile store.       Shortly thereafter,

investigators saw a Hispanic male, later identified as VARGAS, exit the driver’s seat of a black

Ford Explorer (registered to a Esther Mary SMOLEY from Braintree, Massachusetts) and enter

CS-2’s vehicle.

       21.    During the meeting, which was video- and audio-recorded, VARGAS handed CS-

2 an unsealed manila envelope containing bundled money (approximately $15,000, subject to

official count). CS-2 told VARGAS the “24 kilos” were in the trunk of CS-2’s car and suggested

CS-2 take possession of the vehicle, offload the “kilos” and return the car in one hour. VARGAS



                                               6
           Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 7 of 8




declined to take the vehicle and asked said he usually received such items in a suitcase. CS-2

said the “kilos” were individual kilos and offered to package them up. VARGAS agreed and

CS-2 told VARGAS that CS-2 would package up the cocaine and return in 20 minutes. VARGAS

then took the envelope back and, as investigators watched, returned to his vehicle. Investigators

noted a Hispanic female later identified as Anny Bernalda CANDELARIO sitting in the passenger

seat of the Ford Explorer.

       22.      Investigators then met with CS-2 at a neutral site, while surveillance units watched

VARGAS, who stayed in the Ford Explorer at the plaza with CANDELARIO. Investigators then

placed the 24 bundles of sham cocaine inside three unsealed brown cardboard boxes. The bundles

were visible without opening the boxes. Investigators put the boxes into the trunk of CS-2’s

vehicle.

       23.      At approximately 2:55 p.m., CS-2 received an incoming recorded phone call from

VARGAS asking how long. CS-2 explained CS-2 was in traffic and would be there in two

minutes. VARGAS told CS-2 he was parked next to a pink truck in the T-Mobile parking lot (a

slightly different location from before).

       24.      At approximately 3:00 p.m., CS-2 arrived back at the T-Mobile parking lot and

parked next to VARGAS. VARGAS exited the Ford Explorer and went to the driver’s window

of CS-2’s vehicle. VARGAS handed CS-2 back the manila envelope containing approximately

$15,000. VARGAS asked if the “kilos” were in the back seat. CS-2 told VARGAS they were in

the trunk and opened the trunk for VARGAS. Investigators saw VARGAS reach into the trunk

and retrieve two of the three boxes containing the sham cocaine and place them into the rear

passenger seat of the Ford Explorer. VARGAS returned to CS-2’s trunk, took the final box and

was placing it in the Ford Explorer as officers moved in to arrest him. When officers wearing



                                                 7
         Case 1:22-cr-10283-ADB Document 1-1 Filed 07/02/22 Page 8 of 8




clothing with the word “POLICE” exited their vehicles, VARGAS turned and ran. Investigators

shouted, several times, “police stop running.” After approximately thirty yards, VARGAS

stopped running and officers took him into custody. At the same time, CANDELARIO exited

the passenger seat of the Ford Explorer and attempted to flee but was taken into custody

approximately 15 feet from the car.

        25.    At approximately 3:07 p.m., DEA Providence investigators called the 6091 phone.

A cellular telephone located on the driver’s seat of VARGAS’s car rang. Investigators learned in

a post-Miranda discussion with CANDELARIO that she was just released from jail the day prior

and did not have a cellular telephone. After a short time, investigators released CANDELARIO.

                                       CONCLUSION

        26.    Based on the information set forth above, probable cause exists to believe that

Michael VARGAS-CRUZ violated 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(ii) & 21 U.S.C. § 846,

attempting to possess with intent to distribute 5 kilograms or more of cocaine.


                                                   Respectfully submitted,



                                                    /s/ Kyle Montagano
                                                   Kyle Montagano, Special Agent
                                                   Drug Enforcement Administration



Sworn before me by telephone in accordance with the requirements of Federal Rule of Criminal
Procedure 4.1 this 2nd day of July 2022.



       _____________________________
       Honorable Paul G. Levenson
       United States Magistrate Judge
       District of Massachusetts


                                               8
